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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:inrejordanbrownvterumobct,incno24sa342024co38june10,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2024 CO 38&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;In Re &lt;span class="ldml-name"&gt;Ann Jordan&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Bruce Howard Brown&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;David Gutierrez&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Amber Tuffield&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Geraldine Valdez&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Martha Ann Ratzloff&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Daniel Ratzloff&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Bradley Schaak&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Cindy Fuhrmann&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Kenneth Noble&lt;/span&gt;&lt;/span&gt;, in his individual capacity and on behalf of &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;decedent Kay Noble&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Cynthia Bauman&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Susan Kaberline&lt;/span&gt;&lt;/span&gt;; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Blake Richard Darnell&lt;/span&gt;, &lt;span class="ldml-role"&gt;Plaintiffs&lt;/span&gt;&lt;/span&gt;: &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Terumo BCT, Inc.&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Terumo BCT Sterilization Services, Inc.&lt;/span&gt;&lt;/span&gt;; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;John Does 1-20&lt;/span&gt;. &lt;span class="ldml-role"&gt;Defendants&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SA34&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;July 1, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;h2 class="ldml-opinionheading"&gt;&lt;div class="ldml-casehistory"&gt;&lt;span data-paragraph-id="486" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="486" data-sentence-id="499" class="ldml-sentence"&gt;Original Proceeding Pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_499"&gt;&lt;span class="ldml-refname"&gt;C.A.R.21 Jefferson County
 District Court&lt;/span&gt; &lt;span class="ldml-cite"&gt;Case Nos. 20CV31457&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &amp; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_499"&gt;&lt;span class="ldml-cite"&gt;20CV31481&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Honorable
 LindsayL.&lt;/span&gt; &lt;span data-paragraph-id="486" data-sentence-id="626" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;VanGilder&lt;/span&gt;, Judge&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;span data-paragraph-id="643" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="643" data-sentence-id="654" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Rehearing&lt;/span&gt; DENIED.&lt;/span&gt;
&lt;/span&gt;&lt;/div&gt;&lt;/h2&gt;&lt;/div&gt;&lt;/div&gt;
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